Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
Filed 03/25/09   Case 09-90452   Doc 29
